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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

Jill Caruso, Individually,                   )
                                             )     Case No. 2:17-cv-10470
               Plaintiff,                    )
v.                                           )     Judge Avern Cohn
                                             )
BIRCH RUN LODGING, INC., a Michigan          )
corporation for profit,                      )
                                             )
                                             )
               Defendant.                    )


                                     STIPULATION

       Pursuant to a confidential Release and Settlement Agreement entered into

between the parties, the parties stipulate that this case may be dismissed with prejudice

and without costs. The parties further stipulate that the Court may retain jurisdiction

over this matter to enforce the terms of the Release and Settlement Agreement.


                                   Respectfully submitted,


Dated: Nov 9, 2017                    Dated: Nov 9, 2017

/s/ Owen B. Dunn, Jr.                            /s/ Patrick N. Butler

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                                       ORDER

      Pursuant to the above Stipulation,

      IT IS ORDERED that this matter is dismissed with prejudice and without costs.

      IT IS FURTHER ORDERED that the Court retains jurisdiction over this matter to

enforce the terms of the Release and Settlement Agreement.



Dated: December 4,, 2017                      s/Avern Cohn
                                              Honorable Judge Avern Cohn
                                              United States District Judge
